                                                                                          6/14/2019
                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA                        s/ J. Vasquez
                                   HARRISONBURG DIVISION

  JOHN DOE 4, by and through his next             )
  friend, NELSON LOPEZ, on behalf of              )
  himself and all persons similarly situated,     )
                                                  )
             Plaintiffs,                          )
                                                  )      Civil Action No. 5:17-cv-97
   v.                                             )
                                                  )      By: Elizabeth K. Dillon
  SHENANDOAH VALLEY JUVENILE                      )          United States District Judge
  CENTER COMMISSION,                              )
                                                  )
             Defendant.                           )

                                                ORDER

         In accordance with the court’s March 19, 2019 order granting plaintiff’s motion for

  issuance of class notice concerning voluntary dismissal of certain claims, the Notice to Class

  Members was provided to all Latino UACs in custody of the Office of Refugee Resettlement of

  the U.S. Department of Health and Human Services (ORR) and detained at Shenandoah Valley

  Juvenile Center Commission. On May 30, 2019, the court held a Fairness Hearing for the

  purpose of hearing any objections from the class members or their authorized representatives, as

  well as the arguments of counsel, on whether the voluntary dismissal of class claims proposed by

  plaintiffs should be permitted or rejected. During the Fairness Hearing, the court determined that

  the Notice to Class Members must also be provided to the ORR, as the custodian of the Latino

  UACs. Thus, the Fairness Hearing was continued in order to allow for notice to the ORR and to

  give counsel the opportunity to file additional briefing. The continued hearing is now scheduled

  for July 16, 2019, at 11:30 a.m., at the U.S. District Court in Harrisonburg, VA.

         Accordingly, it is hereby ORDERED that plaintiffs’ counsel shall transmit the Notice to

  Class Members, attached hereto as Exhibit A and incorporated herein by reference, along with a




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  copy of this Order, to the Office of Refugee Resettlement, care of Natasha David, Federal Field

  Specialist with the ORR, located at the Division of Unaccompanied Children Operations, 330 C.

  Street, SW, Suite 500, Washington, DC 20201.

         Entered: June 14, 2019.




                                                      /s/ Elizabeth K. Dillon
                                                      Elizabeth K. Dillon
                                                      United States District Judge




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